                        EXHIBIT J


             (Copy of Tarbell Report affirmed
                   in Australian case)




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